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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BRITTANI DANETTE ATKINS,                   )
      Plaintiff,                           )
                                           )
     v.                                    )
                                           )
HEALTHCARE REVENUE RECOVERY GROUP, L.L.C., )
     Defendant.                            )

                            PLAINTIFF’S MOTION TO DISMISS

        Plaintiff respectfully moves this Honorable Court to dismiss without prejudice any claim

as to any Defendant in the instant case. Plaintiff further respectfully moves this Honorable Court

to convert the dismissal to a dismissal with prejudice in 60 days.

        Respectfully submitted,
        Plaintiff’s Counsel
        North & Sedgwick, L.L.C.
by:     /s/ Paúl Camarena                  .




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